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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                         §
     Plaintiff/Respondent,                        §
                                                  §
v.                                                §            Cr. No. C-05-346 (15)
                                                  §
FAVIAN CANTU ROSALEZ,                             §
     Defendant/Movant.                            §

            ORDER DENYING MOTION FOR “POST-CONVICTION RELIEF”

       For the same reasons set forth in three of the Court’s prior orders (D.E. 523, 525, 527), the

Court DENIES Defendant Favian Cantu Rosalez’s latest filing, which is yet another motion for “post-

conviction relief.” (D.E. 528.)

       Additionally, the Court notes that in its last order, Rosalez was advised that if he “continues

to file repetitive motions with this Court, he may be sanctioned by the Court in the form of a fine or

restrictions on his ability to file motions.” (D.E. 527 at 1.) Although his latest filing certainly is

repetitive, and was docketed after the Court’s December 12, 2007 Order, it was actually received by

the Clerk on December 10, 2007. Thus, it was filed by Rosalez before he was given the foregoing

warning and so the Court will not sanction Rosalez at this time. Nonetheless, Rosalez should refrain

in the future from filing any repetitive motions. If he does so, he may be subject to sanctions.


       It is so ORDERED this 19th day of December, 2007.



                                               ____________________________________
                                                          Janis Graham Jack
                                                      United States District Judge
